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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


            PLAINTIFFS’ NOTICE OF WITHDRAWAL
       OF MOTION TO EXCLUDE EVIDENCE AND ARGUMENT
        CONCERNING DOMINION DEMOCRACY SUITE 5.17

     After conferral with State Defendants, Plaintiffs jointly submit this Notice of

Withdrawal of their Motion to Exclude Evidence and Argument Concerning

Dominion Democracy Suite 5.17. (Doc. 1800.)

     Respectfully submitted this 2nd day of February, 2024.

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      Case 1:17-cv-02989-AT Document 1811 Filed 02/02/24 Page 2 of 4




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,
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                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                         CERTIFICATE OF SERVICE

      I hereby certify that on February 2, 2024, a copy of the foregoing

PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION TO EXCLUDE

EVIDENCE          AND      ARGUMENT            CONCERNING            DOMINION

DEMOCRACY SUITE 5.17 was electronically filed with the Clerk of Court using

the CM/ECF system, which will automatically send notification of such filing to all

attorneys of record.

                                            /s/ David D. Cross
                                            David D. Cross




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